Case 4:11-cv-00252-CVE-CDL Document 333 Filed in USDC ND/OK on 03/31/21 Page 1 of 2


                         UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF OKLAHOMA


   CYPRUS AMAX MINERALS COMPANY,                        )
                                                        )
                          Plaintiff,                    )
                                                        )
   v.                                                   )       Case No. 11-CV-0252-CVE-CDL
                                                        )
   TCI PACIFIC COMMUNICATIONS, LLC,                     )
                                                        )
                          Defendant.                    )

                                               JUDGMENT

          The Court held a non-jury trial from February 26 to March 2, 2018, and the parties have

   submitted proposed findings of fact and conclusions of law. The Court has considered the trial

   testimony, the exhibits submitted by the parties, and the proposed findings of fact and conclusions

   of law, and has entered findings of fact and conclusions of law (Dkt. # 332). Counts I, II, and VIII

   were previously dismissed, and this is a final judgment terminating this case.

          IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that judgment is

   entered in favor of plaintiff Cyprus Amax Minerals Company and against defendant TCI Pacific

   Communications, LLC as to Counts III and V of the amended complaint for contribution in the

   amount of $14,265,070.20, plus post-judgment interest thereon from this date at the rate of .07 %

   per annum, plus the costs of this action.

          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that declaratory judgment

   is entered in favor of plaintiff Cyprus Amax Minerals Company and against defendant TCI Pacific

   Communications, LLC as to Count VII of the amended complaint, and the Court hereby declares that

   defendant TCI Pacific Communications, LLC is liable for 45 % of future response costs, if any,

   incurred by plaintiff Cyprus Amax Minerals Company to complete the Collinsville Soil Program.
Case 4:11-cv-00252-CVE-CDL Document 333 Filed in USDC ND/OK on 03/31/21 Page 2 of 2


          IT IS FURTHER ORDERED, ADJUDGED AND DECREED that judgment is entered

   in favor of TCI Pacific Communications, LLC and against plaintiff Cyprus Amax Minerals Company

   as to Counts IV and VI of the amended complaint.

          DATED this 31st day of March, 2021.




                                                 2
